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                                                                                                                                                                                                                                                           PROGRESSIVE
                                                                                                                                                                                                                                                           Progressive Claims Branch
                                                                                                                                                                                                                                                           901 N. Lake Destiny Rd
                                                                                                                                                                                                                                                           Suite 200
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                                                                                                                                                                                                                                                           Maitland,, Florida| 32751
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                                                                                                                                                                                                                                                           Tel#407-618-8858'
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                                                                                                                                                                                                                                                           Fax#407-618-8836
mnt                       LAN                   Ant
October 22,' 2018

~ 4 mt.     ae
Paul. &’ Perkins.>                                                                                                                                                                                                                                                                                    i
 Aeros 17 a          -—                                                                                                                                                                                                                                                                                                                                                                    ea

Attn: Paul Perkins,, Jr Esq1                                                                                                                                                                                                                                                 .
vaya , nme                                           +        -
7114 N. Orlando, Ave
mot » ANA
Suite’ 202
we      *     aan me
Maitland, FL‘ 32751‘

--,                                        oer ae,                                                                    BARBRA Ade
RE:                        Policy No.:                                                                                909386816
                           ree    we                                                                                  tA RSE                     A
                           Claim No.:                                                                                 XX-XXXXXXX
                           ™                                                                                          tnINGAINAAD
                           Date, ofLoss:,
                                                              ~                ;
                                                                                                                      10/01/2018'
                           ~ee      aes                                                                               ~     fe
                           Claimant(s):                                                                               Jamesa Spalding>                                                                                                                                                                                                           ’
                           =    17      in,                                                                            s   1) 0-45
                           Named Insured:                                                                             Angela Seda

                     roa                             +
Dear. Counselor:.                                                                                                                                                                                                                                  5
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I3am the' claims, representativer assigned to handle, the, above referenced accident5whichLtookt place5oni October 01,5 2018.. Oni that;
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                                                                               py    oe            -”        _ tea         .* Vv ae
date,, Angela M. Sedaibmaintained a policy of insurance with Progressive' Select. Insurance Company whicht provided bodily
                                                                                                                  =.
injuryr liability limits, in the: amount of $10,0004 per person, $20,000 per, accident.. I haves, enclosed] our policyr disclosure:, package,'
4.    &.8.                                               te           .            .       at                          ,         Men             an                  ¢                                                                 *. 2        .       a:                                 *                                          «             <                               -




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                           *

confirmingt; this., coverage.
            o~                                 «te                                                                                                                                                                                                                                                             7                                                          3                     =




                               .                fo                ra                                                                                                                                                                                                                                                             4 nee               «2                       ~
Progressive Select Insurance Companhy hereby tenders our insured’s $10,000 per person bodily injuryr liability7 limit4to James‘
aay                                                                                                                                                                                                                                                                                                                     so
                                                                  .                                                                                                                                                                                                                                                                                          .                                   '

ots            + 4 tn                                                                                               aoe       e
Spalding,>on behalf of Angela M. Seda AKA Angela Seda Borrero, in exchange for a release ofthe bodilyr injuryr claim(s) arising
                                                                                                       eee


     wat             WH
out of the, above? referenced accident. I have enclosed our settlement draft in the amount of$10,000 payable toi Paul[ and Perkins
             1                                                                                             a         -   <    =e
          .      .                                                                                                                                                                                                                                                                                                                               =_



“~omm    ak          ae                                                                                     ott tee   2
PA: Trust Account. For the Benefit of James Spalding, as well as our proposed release. While a release, will ultimately be
required,5 our tender ofthe policy limits is not conditioned upon the execution ofany particular form of release.. If there are': anyr
     .         Bconfceg   1                                                                             > 4           -«

 ae ra     oe                                                                                                       -
objections> to thee language contained in the proposed release, please contact me so that we can reach an agreement. on‘ any
                we.     .                                                                                                   -
necessaryr modifications.


   thereis a policy ofinsurance, whichi does‘ or mayprovide uninsuredL/ underinsured motorist coverage for this accident, you
        tno                               re                                                                       o-
If
       +                   :                             ee                                               ,ote
                                                                                                            ,         4 .   4                                                          . ,                .              4    ’        +      .                     *                     8                         . Sd                                                  .

-4   1    stmt     *             .  .      to. 4 mae            ca       eee         oe         _*   2.     .         oes                                                                    aad.                    OR
                                                                                                                                                                                                                                                       ’                                                            ,                                                         ,


should notifyr thatinsurance,. carrier' immediately, of this»: settlement offer. as: theirpermissionL must¥7be obtained to accept this}i
anna     4 wR tt         a.          eo     n    ate     i         + ¢  ao          ]    i  eo    Bin eny as     - 8  -  .  a eee
settlement. Failure to obtain permission from the uninsured / underinsured motorist carrier could resultin the inability to
           Pie

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recover benefits, whichL would otherwise: be available.
                      ®                                                                                                            .




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The4: settlement+» offerz detailed: aboveree
                                          is for. the:' above.‘ referenced bodily' injury' claim(s)1 only' and does:5 not includee, any, claims; for,
                                         ro}
property' damage.: If there are any claims£for propertyr damage'roa
                                                                                                                     an
                                                                          asa result:of thei accident,; please: notify' me immediatelyrn:    so that I
        ’   £              aa             ae      ~             ‘  1                .   +t       of    =    +                a       -          ™                                                                                                                                                                                                                ra




            oe  re      ..      ~            a    *        *         ts      ‘             .        ae a see           ~                   -
may consider, those, items.: for payment under. our insured’s', separate‘, property damage, liabilityr coverage..

                                               ~                                                                a1.                                        ~+
Thanki‘ you for'your7attention1to these3? matters.roaI lookt‘ forward to\ answeringr' any questions you may have., aboutZthe contents:5of
rot              4                                                            aa                aft    a                                   ror                               t   ”                  tel                           .                                     a®                                 +                 «           i,      Pie                  é           a             ~



HMote Dead Roonag  7     .   Gicced1  te ae
this letter or any issues, related to this claim.'

ne                        1
Sincerely,’

Jowanna Henry
runs                  ,a                             ee                                ‘
Claims Specialist Leadb                                                                                                                                                  .




ns          *                              .c-           ef                   wee               *               a                          ert                   ,               Trt    oat                    aw            ns
Enclosures: Policy Disclosure, Proposed Release and Settlement Draft
                                           .                              b                                                                ,                     ‘                                             r              .




                 S                 _           om «4                                       "                          er
cc: Angela Seda AKA Angela Seda Borrero



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